   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 1 of 15 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI



MARYANNE MCCAULEY,                    )
                                      )
                     Plaintiff,       )
                                      )                      CIVIL ACTION
vs.                                   )
                                      )                      FILE No. 4:23-CV-01339
HECHT’S REAL ESTATE COMPANY, L.P. and )
KBP BRANDS, LLC,                      )
                                      )
                     Defendants.      )


                                          COMPLAINT

       COMES NOW, MARYANNE MCCAULEY, by and through the undersigned counsel,

and files this, her Complaint against Defendants, HECHT’S REAL ESTATE COMPANY, L.P.

and KBP BRANDS, LLC, pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In

support thereof, Plaintiff respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendants’

HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS, LLC, failure to remove

physical barriers to access and violations of Title III of the ADA.




                                                 1
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 2 of 15 PageID #: 2




                                              PARTIES

       2.      Plaintiff MARYANNE MCCAULEY (hereinafter “Plaintiff”) is and has been at

all times relevant to the instant matter, a natural person residing in St. Peters, Missouri, (St.

Charles County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant, HECHT’S REAL ESTATE COMPANY, L.P. (hereinafter “HECHT’S

REAL ESTATE COMPANY, L.P.”) is a domestic limited partnership that transacts business in

the State of Missouri and within this judicial district.




                                                   2
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 3 of 15 PageID #: 3




        8.       Defendant, HECHT’S REAL ESTATE COMPANY, L.P., may be properly

served with process via its Registered Agent, to wit: c/o William B. Hecht, Registered Agent, 11

Centre Pointe Drive, St. Charles, MO 63304.

        9.       Defendant, KBP BRANDS, LLC (hereinafter “KBP BRANDS, LLC”) is a

Delaware limited liability corporation that transacts business in the State of Missouri and within

this judicial district.

        10.      Defendant, KBP BRANDS, LLC, may be properly served with process via its

Registered Agent, to wit: c/o CSC-Lawyers Incorporating Service Company, Registered Agent,

221 Bolivar Street, Jefferson City, MO 65101.

                                  FACTUAL ALLEGATIONS

        11.      On or about November 11, 2022, Plaintiff was a customer at “KFC”, a business

located at 4118 Mexico Road, St. Peters, MO 63376, referenced herein as “KFC”. See Receipt

attached as Exhibit 1. See Selfie attached as Exhibit 2.

        12.      Defendant, HECHT’S REAL ESTATE COMPANY, L.P., is the owner or co-

owner of the real property and improvements that KFC is situated upon and that is the subject of

this action, referenced herein as the “Property.”

        13.      Defendant, KBP BRANDS, LLC, is the lessee or sublessee of the real property

and improvements that are the subject of this action.

        14.      Defendant, HECHT’S REAL ESTATE COMPANY, L.P., as property owner, is

responsible for complying with the ADA for both the exterior portions and interior portions of

the Property.      Even if there is a lease between Defendant, HECHT’S REAL ESTATE

COMPANY, L.P., and a tenant allocating responsibilities for ADA compliance within the unit

the tenant operates, that lease is only between the property owner and the tenant and does not



                                                    3
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 4 of 15 PageID #: 4




abrogate the Defendant’s requirement to comply with the ADA for the entire Property it owns,

including the interior portions of the Property which are public accommodations. See 28 CFR §

36.201(b).

       15.     Plaintiff’s access to KFC, located at 4118 Mexico Road, St. Peters, MO 63376,

St. Charles County Property Appraiser’s property identification number 102749A030 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of her disabilities, and she will be denied and/or limited in the future unless and until

Defendants are compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Property, including those set forth in this Complaint.

       16.     Plaintiff lives 4 miles from the Property.

       17.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer, to determine if and when the Property is made accessible and

for Advocacy Purposes.

       18.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       19.     Plaintiff travelled to the Property as a customer once before and personally

encountered many barriers to access the Property that are detailed in this Complaint, engaged

many barriers, suffered legal harm and legal injury, and will continue to suffer such harm and



                                                  4
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 5 of 15 PageID #: 5




injury if all the illegal barriers to access present at the Property identified in this Complaint are

not removed.

       20.     Plaintiff became aware of all identified barriers prior to filing the Complaint and

because Plaintiff intends on revisiting the Property as a customer and advocate for the disabled

within six months or sooner after the barriers to access are removed, it is likely that despite not

actually encountering a particular barrier to access on one visit, Plaintiff may encounter a

different barrier to access identified in the Complaint in a subsequent visit as, for example, one

accessible parking space may not be available and she would need to use an alternative

accessible parking space in the future on her subsequent visit. As such, all barriers to access

identified in the Complaint must be removed in order to ensure Plaintiff will not be exposed to

barriers to access and legally protected injury.

       21.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       22.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       23.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive


                                                   5
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 6 of 15 PageID #: 6




               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       24.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       25.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       26.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,



                                                 6
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 7 of 15 PageID #: 7




1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       27.     The Property is a public accommodation and service establishment.

       28.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       29.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       30.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       31.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       32.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered



                                                7
   Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 8 of 15 PageID #: 8




therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

        33.     Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS,

LLC, have discriminated against Plaintiff (and others with disabilities) by denying her access to,

and full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Property, as prohibited by, and by failing to remove architectural barriers

as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

        34.     Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS,

LLC, will continue to discriminate against Plaintiff and others with disabilities unless and until

Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS, LLC, are

compelled to remove all physical barriers that exist at the Property, including those specifically

set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        35.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

              i.     The total number of accessible parking spaces is inadequate and is in violation

                     of Section 208.2 of the 2010 ADAAG standards. There are 59 total parking

                     spaces on the Property, which requires a minimum of three accessible parking

                     spaces, but there are only two. This barrier to access would make it difficult

                     for Plaintiff to locate an available accessible parking space as such a small



                                                  8
Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 9 of 15 PageID #: 9




              number of accessible parking spaces in a large parking lot increases the

              likelihood of there not being an available accessible parking space.

        ii.   One accessible parking space has a slope in excess of 1:48 in violation of

              Section 502.4 of the 2010 ADAAG standards and are not level. This barrier to

              access would make it dangerous and difficult for Plaintiff to exit and enter

              their vehicle while parked at the Property as Plaintiff’s wheelchair may roll

              down the slope while entering or exiting the vehicle.

       iii.   The bottom edges of the signs identifying the two accessible parking spaces

              are at a height below 60 inches from the floor in violation of Section 502.6 of

              the 2010 ADAAG standards. This barrier to access would make it difficult for

              Plaintiff to locate an accessible parking space.

       iv.    The door to the accessible entrance lacks a clear minimum maneuvering

              clearance due to the fact the end of the latch side of the accessible entrance

              door being within 18 inches to the adjacent wall/outcropping in violation of

              Section 404.2.4 of the 2010 ADAAG standards. This barrier to access would

              cause Plaintiff difficulty in utilizing the door to gain access to this unit

              because individuals in a wheelchair have their feet and legs sticking out in

              front of them thus requiring additional space to reach the door hardware and

              open the door. The current configuration of the accessible entrance of this

              unit blocks Plaintiff’s ability to reach the door hardware and open the door.

        v.    The clear width of the accessible entrance doorway is less than 32 inches in

              violation of section 404.2.3 of the 2010 ADAAG standards. This barrier to

              access would make it very difficult for Plaintiff and others in a wheelchair to



                                            9
Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 10 of 15 PageID #: 10




               traverse into the public accommodation as a standard wheelchair has a width

               of between 30 and 32 inches. Even if a wheelchair could barely squeeze

               through, such a tight doorway may injure the hands of a disabled individual as

               they could get caught between the wheel and the doorway.

        vi.    As a result of the barrier to access referenced in (iv and (v), not all entrance

               doors and doorways comply with Section 404 of the 2010 ADAAG standards

               and not on an accessible route, this is a violation of Sections 206.4 and

               206.5.1 of the 2010 ADAAG standards. This barrier to access would make it

               difficult for Plaintiff to access the units of the Property.

        vii.   As a result of the barrier to access referenced in (iv and (v), the accessible

               parking spaces are not on an accessible route, this is a violation of section

               208.2.1 of the 2010 ADAAG standards.

       viii.   Due to a failure to enact a policy of proper grounds maintenance, there is

               gravel and debris in the accessible parking spaces. As a result, the ground

               surfaces of the accessible spaces have vertical rises in excess of ¼ (one

               quarter) inch in height, are not stable or slip resistant, have broken or unstable

               surfaces or otherwise fail to comply with Sections 502.4, 302 and 303 of the

               2010 ADAAG standards. This barrier to access would make it dangerous and

               difficult for Plaintiff to access the units of the Property.

        ix.    Defendants fail to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

RESTROOMS




                                              10
Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 11 of 15 PageID #: 11




         x.    The restroom door lacks a clear minimum maneuvering clearance, due to the

               proximity of the door hardware within 18 inches to the adjacent wall, in

               violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

               access would make it difficult for Plaintiff and/or any disabled individual to

               safely utilize the restroom due to the fact individuals in wheelchairs have their

               feet sticking out in front of them and when there is inadequate clearance near

               the door (less than 18 inches), their protruding feet block their ability to reach

               the door hardware to open the door.


        xi.    The restrooms have grab bars adjacent to the commode which are not in

               compliance with Section 604.5 of the 2010 ADAAG standards as the side bar

               is missing. This barrier to access would make it difficult for Plaintiff and/or

               any disabled individual to safely transfer from the wheelchair to the toilet and

               back to the wheelchair.

        xii.   The hand operated flush control is not located on the open side of the

               accessible toilet in violation of Section 604.6 of the 2010 ADAAG standards.

               This barrier to access would make it difficult for Plaintiff and/or any disabled

               individual to flush the toilet as the location of the flush control on the open

               side is significantly easier to reach than when it is positioned on the closed

               side.

       xiii.   As a result of the bottom surface of the sink being less than 27 inches from the

               finished floor, there is inadequate knee and toe clearance in violation of

               Section 306 of the 2010 ADAAG standards. This barrier to access would

               make it difficult for Plaintiff and/or any disabled individual to utilize the


                                            11
 Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 12 of 15 PageID #: 12




                       restroom sink as Plaintiff is seated in a wheelchair and, when seated,

                       Plaintiff’s feet and legs protrude out in front. In order to properly utilize a

                       sink, Plaintiff’s legs must be able to be underneath the surface of the sink, but

                       due to the improper configuration of the sink, there is no room underneath for

                       Plaintiff’s legs and feet.

             xiv.      The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

                       and are not insulated or configured to protect against contact in violation of

                       Section 606.5 of the 2010 ADAAG standards. This barrier to access would

                       make it difficult for Plaintiff and/or any disabled individual to safely utilize

                       the sink as the pipes underneath the sink typically have sharp surfaces and/or

                       hot pipes, and since individuals in wheelchairs use a sink while seated, their

                       legs are particularly vulnerable to these threats.

             xv.       The restroom lacks signage in compliance with Sections 216.8 and 703 of the

                       2010 ADAAG standards. This barrier to access would make it difficult for

                       Plaintiff and/or any disabled individual to locate accessible restroom facilities.

       36.          The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       37.          Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       38.          The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       39.          All of the violations alleged herein are readily achievable to modify to bring the



                                                     12
 Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 13 of 15 PageID #: 13




Property into compliance with the ADA.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       41.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the subject Property is

a KFC restaurant, and the KFC division of Yum! Brands (its parent company), generated $2.85

billion in revenue in 2022.

       42.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendants have available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       43.       Upon information and good faith belief, the Property has been altered since 2010.

       44.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       45.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS, LLC, are

required to remove the physical barriers, dangerous conditions and ADA violations that exist at

the Property, including those alleged herein.

       46.       Plaintiff’s requested relief serves the public interest.




                                                   13
 Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 14 of 15 PageID #: 14




       47.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS,

LLC.

       48.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendants, HECHT’S REAL ESTATE COMPANY, L.P. and KBP BRANDS,

LLC, pursuant to 42 U.S.C. §§ 12188 and 12205.

       49.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendants, HECHT’S

REAL ESTATE COMPANY, L.P. and KBP BRANDS, LLC, to modify the Property to the

extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find Defendants, HECHT’S REAL ESTATE COMPANY, L.P.

              and KBP BRANDS, LLC, in violation of the ADA and ADAAG;

       (b)    That the Court issue a permanent injunction enjoining Defendants, HECHT’S

              REAL ESTATE COMPANY, L.P. and KBP BRANDS, LLC, from continuing

              their discriminatory practices;

       (c)    That the Court issue an Order requiring Defendants, HECHT’S REAL ESTATE

              COMPANY, L.P. and KBP BRANDS, LLC, to (i) remove the physical barriers to

              access and (ii) alter the subject Property to make it readily accessible to and

              useable by individuals with disabilities to the extent required by the ADA;

       (d)    That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

              and costs; and




                                                14
Case: 4:23-cv-01339-MTS Doc. #: 1 Filed: 10/24/23 Page: 15 of 15 PageID #: 15




    (e)   That the Court grant such further relief as deemed just and equitable in light of the

          circumstances.

                                        Dated: October 24, 2023.

                                        Respectfully submitted,

                                        Law Offices of
                                        THE SCHAPIRO LAW GROUP, P.L.

                                        /s/ Douglas S. Schapiro
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                                           15
